

Matter of Ariana F. (Robert F.) (2022 NY Slip Op 00757)





Matter of Ariana F. (Robert F.)


2022 NY Slip Op 00757


Decided on February 4, 2022


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on February 4, 2022
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: CENTRA, J.P., NEMOYER, CURRAN, AND BANNISTER, JJ.


37.1 CAF 20-00817

[*1]IN THE MATTER OF ARIANA F. AND SERENITY F. LIVINGSTON COUNTY DEPARTMENT OF SOCIAL SERVICES, PETITIONER-RESPONDENT,
andROBERT F., RESPONDENT, AND TARA L., RESPONDENT-APPELLANT. (APPEAL NO. 3.) 






HAYDEN DADD, CONFLICT DEFENDER, GENESEO (BRADLEY E. KEEM OF COUNSEL), FOR RESPONDENT-APPELLANT.
ASHLEY J. WEISS, MOUNT MORRIS, FOR PETITIONER-RESPONDENT.
GARY MULDOON, ROCHESTER, ATTORNEY FOR THE CHILDREN. 


	Appeal from an order of the Family Court, Livingston County (Barry L. Porsch, A.J.), entered January 27, 2020 in a proceeding pursuant to Family Court Act article 10. The order, among other things, placed the subject children in the custody of petitioner. 
It is hereby ORDERED that the order so appealed from is unanimously affirmed without costs.
Same memorandum as in Matter of Ariana F.F. (Robert E.F., Sr.-Tara M.L.) ([appeal No. 1] — AD3d — [Feb. 4, 2022] [4th Dept 2022]).
Entered: February 4, 2022
Ann Dillon Flynn
Clerk of the Court








